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ACADEMIC APPOINTMENTS

 University of California, Berkeley School of Law, 2012-present
 Shannon Cecil Turner Professor of Jurisprudence (2019-present); previously Professor of Law
 Affiliated Faculty, Institute for European Studies

 Courses: The Federal Courts and the Federal System; Civil Procedure; Seminar on the
       Supreme Court and Constitutional Law; Seminar on the Constitution in Wartime; Public
       Law and Policy Workshop (various topics: Advanced Constitutional Law;
       Administrative Law; Civil Procedure & Federal Courts)

 London School of Economics and Political Science, Spring 2017
 Visiting Senior Fellow, Department of Law

 The George Washington University Law School, 2004-2012
 Associate Professor of Law; with tenure, 2009-2012

 New York University School of Law, Spring 2011
 Visiting Professor of Law

 University of Virginia School of Law, Spring 2010
 Visiting Professor of Law

 Harvard Law School, Fall 2007
 Visiting Associate Professor of Law

 Georgetown University Law Center, Spring 2003
 Visiting Researcher

LEGAL EXPERIENCE

 Sidley & Austin, Washington, D.C.
 Associate (2000-2004)

 The Honorable Ruth Bader Ginsburg, Supreme Court of the United States
 Law Clerk (1999-2000)

 The Honorable Guido Calabresi, United States Court of Appeals for the Second Circuit
 Law Clerk (1998-1999)

EDUCATION

 Harvard Law School, J.D., magna cum laude (1998)
       Harvard Law Review: Treasurer, Volume 111; Editor, Volume 110
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          James Barr Ames Moot Court Finals, Boykin C. Wright Memorial Fund Prize (1998):
                Best Team Award (Charles Hamilton Houston Memorial Team)
                George Leisure Award for Best Oralist

 Stanford University, AB, Public Policy, with Distinction and Honors (1995)

ACADEMIC PUBLICATIONS AND WORKS IN PROGRESS

 Books:

 SUPREME RBG: PURSUING GENDER EQUALITY AND A “MORE PERFECT UNION” THROUGH HER LIFE
 AND WORK,  with the Honorable Ruth Bader Ginsburg (University of California Press,
 forthcoming 2021)

 HABEAS CORPUS: A VERY SHORT INTRODUCTION (Oxford University Press, forthcoming 2021)

 HABEAS CORPUS IN WARTIME: FROM THE TOWER OF LONDON TO GUANTANAMO BAY (Oxford
 University Press 2017) (paperback 2019)

 HART & WECHSLER’S FEDERAL COURTS AND THE FEDERAL SYSTEM, with Richard H. Fallon,
 Jr., Jack L. Goldsmith, John F. Manning & David L. Shapiro (Foundation Press) (Eighth
 Edition in progress)

 HART & WECHSLER’S FEDERAL COURTS AND THE FEDERAL SYSTEM, with Richard H. Fallon,
 Jr., Jack L. Goldsmith, John F. Manning & David L. Shapiro (Foundation Press) (2016, 2017,
 2018, 2019, 2020 Supplements to the Seventh Edition)

 Articles, Essays, and Book Chapters:

 Courts and the Executive in Wartime: A Comparative Study of the American and British
 Approaches to the Detention of Citizens During World War II, in JUDGING NATIONAL
 SECURITY (Robert M. Chesney & Stephen I. Vladeck eds.) (forthcoming Oxford University
 Press 2021) (book chapter)

 Courts and the Executive in Wartime: A Comparative Study of the American and British
 Approaches to the Internment of Citizens During World War II and Their Lessons for Today,
 107 CALIF. L. REV. 789 (2019) (longer article treatment of subject)

 The “New Federalism” in Constitutional Interpretation: A Case Study in Partisan
 Gerrymandering, in ITALIAN-AMERICAN DIALOGUES IN LAW (forthcoming University of
 California, Berkeley School of Law Press 2021) (book chapter)

 Direct Democracy and Judicial Review in the United States, in MISINFORMATION IN
 REFERENDA (Sandrine Baume, Véronique Boillet & Vincent Martenet eds.) (Routledge 2020)
 (book chapter)

 Customary Law and the Domain of Federal Common Law Today, in CUSTOMARY LAW
 (Laurent Mayali & Pierre Mousseron eds.) (Springer Verlag 2018) (book chapter)
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(Karren Orren & John Compton, eds.) (Cambridge University Press 2018) (book chapter)

Habeas Corpus in the Anglo-American Legal Tradition, 16 J. KOREAN L. 31 (2016)

A “Second Magna Carta”: The English Habeas Corpus Act and the Statutory Origins of the
Habeas Privilege, 91 NOTRE DAME L. REV. 1949 (2016)

Assessing the Role of History in the Federal Courts Canon: A Word of Caution, 90 NOTRE
DAME L. REV. 1739 (2015)

Habeas Corpus and the American Revolution, 103 CALIF. L. REV. 635 (2015)

The Forgotten Core Meaning of the Suspension Clause, 125 HARV. L. REV. 901 (2012)

A Dialogue with Federal Judges on the Role of History in Interpretation, 80 GEO. WASH. L.
REV. 1889 (2012) (with the Honorable Frank H. Easterbrook, Brett M. Kavanaugh, Charles F.
Lettow, Reena Raggi, Jeffrey S. Sutton, and Diane P. Wood)

The Counterfactual that Came to Pass: What If the Founders had not Constitutionalized the
Privilege of the Writ of Habeas Corpus?, 45 IND. L. REV. 3 (2011)

Setting the Supreme Court’s Agenda: Is There a Place for Certification?, 78 GEO. WASH. L.
REV. 1310 (2010), republished in part in THE SUPREME COURT SOURCEBOOK 273-276 (Richard
H. Seamon, Andrew Siegel, Joseph Thai & Kathryn Watts, eds. 2013)

The Story of Klein: The Scope of Congress’s Authority to Shape the Jurisdiction of the Federal
Courts, in FEDERAL COURTS STORIES (Vicki Jackson & Judith Resnik eds., Foundation Press
2009)

Suspension as an Emergency Power, 118 YALE L. J. 600 (2009)

Is Suspension a Political Question?, 59 STAN. L. REV. 333 (2006)

Continuity, Coherence, and the Canons, 99 NW. U. L. REV. 1389 (2005)

Other Published Writing:

Thuraissigiam and the Future of the Suspension Clause, LAWFARE BLOG (July 2, 2020),
available at: https://www.lawfareblog.com/thuraissigiam-and-future-suspension-clause

In Memoriam: Professor David L. Shapiro, 133 HARV. L. REV. 2454 (2020)

Lessons from President Lincoln in the Age of Coronavirus, SAN FRANCISCO CHRONICLE (Mar.
27, 2020), available at: https://www.sfchronicle.com/opinion/openforum/article/Lessons-from-
President-Lincoln-in-the-age-of-15160434.php
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 REVIEW ONLINE (April 2019), available at: https://blog.harvardlawreview.org/_habeas-corpus-
 in-wartime_-and-larger-lessons-for-constitutional-law/

 The Travel Ban and Judicial Deference to the Executive Branch on Matters of National
 Security: The Cautionary Tale of the Japanese American Internment, USA TODAY (Jan. 24,
 2018), available at: https://www.usatoday.com/story/opinion/2018/01/24/trump-travel-ban-
 supreme-court-japanese-american-internment-cautionary-tale-amanda-tyler-
 column/1055966001/

 The First “Citizen Enemy Combatants” and the War on Terror Today, OXFORD UNIVERSITY
 PRESS BLOG (Jan. 4, 2018), available at: https://blog.oup.com/2018/01/first-citizen-enemy-
 combatants/?utm_source=twitter&utm_medium=oupacademic&utm_campaign=oupblog

 ACLU v. Mattis and the Citizen Enemy Combatant in Hamdi v. Rumsfeld, LAWFARE BLOG
 (Dec. 12, 2017), available at: https://www.lawfareblog.com/aclu-v-mattis-and-citizen-enemy-
 combatant-hamdi-v-rumsfeld

 Honoring the Legacy of Mitsuye Endo, SACRAMENTO BEE (August 25, 2016); also posted on
 LAWFARE BLOG (Aug. 25, 2016), available at: https://www.lawfareblog.com/honoring-legacy-
 mitsuye-endo

BAR MEMBERSHIPS

 Bars of the District of Columbia (active) and the State of New York (inactive)

 Bar of the Supreme Court of the United States and various United States Courts of Appeals

RECENT HONORS

 University of California, Berkeley School of Law, 2020 Rutter Award for Teaching Distinction

 American Law Institute, Elected Member, 2018

 Order of the Coif Distinguished Visitor, 2017

PROFESSIONAL ACTIVITIES

 American Association of Law Schools: Scholarly Papers Selection Committee Chair (2019);
 Federal Courts Section Chair (2015) & Chair-Elect (2014); Federal Courts Section Executive
 Committee Member (2009-present); Federal Courts Section Daniel J. Meltzer Memorial Award
 Committee (2016); Federal Courts Section Best Untenured Article Selection Committee
 (2015); Scholarly Papers Selection Committee Member (2006)

 Board of Overseers, Harvard Law Review Association (2008-present)

 Panetta Institute for Public Policy, Annual speaker on the Supreme Court to the Institute’s
 Congressional Internship Program (2013-2019)
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 Naval Postgraduate School, Center for Homeland Defense and Security Executive Leaders
 Program, Guest Lecturer on Constitutional Law issues (2016-present)

 Alumni Council, Public Policy Program, Stanford University (2012-2016)

 Member, American Society for Legal History

MANUSCRIPT REVIEWS

 For: Cambridge University Press, Oxford University Press, Yale University Press, University
 of California Press, California Law Review, George Washington Law Review, Harvard Law
 Review, Stanford Law Review, Yale Law Journal.

ACADEMIC & OTHER PRESENTATIONS

 Available upon request.
